    Case: 1:18-cv-04542 Document #: 48 Filed: 01/10/20 Page 1 of 3 PageID #:100




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROWENA DZIUBLA,                            )
                                           )
                              Plaintiff,   )
                                           )
                                           )       Case No. 1:18-cv-4542
                                           )
J.C. ANDERSON, INC. and                    )
PETER ERLING JACOBSEN                      )
                                           )
                              Defendant.   )       JURY DEMANDED

                       DEFENDANT PETER ERLING JACOBSEN’S
                         MOTION FOR SUMMARY JUDGMENT

       NOW COMES the Defendant, Peter Erling Jacobsen, by and through his attorneys,

PRETZEL & STOUFFER, CHARTERED, and for his Motion for Summary Judgment hereby

states as follows:

       Defendant, Peter Erling Jacobsen, by and through his counsel of record, hereby

respectfully moves this Court pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56-

1 for entry of Summary Judgment in his favor and against Plaintiff, Rowena Dziubla. Defendant

shows the Court that there is no genuine issue as to any material fact and that Defendant is

entitled to judgment as a matter of law.

       The motion is based upon all pleadings and other papers of record in this action and is

supported by Defendant Peter Erling Jacobsen’s Local Rule 56-1(a) Statement of Material Facts

as to Which There is No Genuine Dispute, and Memorandum of Law in Support of Defendant’s

Motion for Summary Judgment.

       WHEREFORE, Defendant, PETER ERLING JACOBSEN, seeks judgment as a matter of

law against Plaintiff, Rowena Dziubla’s Complaint at Law.
   Case: 1:18-cv-04542 Document #: 48 Filed: 01/10/20 Page 2 of 3 PageID #:101




                                     Respectfully Submitted,

                                     PRETZEL & STOUFFER, CHARTERED


                                     By:/s/ Mary H. Cronin
                                     Mary H. Cronin /ARDC#6285991

Edward B. Ruff, III
Matthew J. Egan
Michael P. Turiello
Mary H. Cronin
PRETZEL & STOUFFER, CHARTERED
One S Wacker Drive
Suite 2500
Chicago IL 60606
312-578-7450
312-578-7432
312-578-7507
312-578-7458
312-346-8242 (Fax)
eruff@pretzelstouffer.com
megan@pretzelstouffer.com
mturiello@pretzelstouffer.com
mcronin@pretzelstouffer.com
    Case: 1:18-cv-04542 Document #: 48 Filed: 01/10/20 Page 3 of 3 PageID #:102




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that DEFENDANT PETER ERLING JACOBSEN’S

MOTION FOR SUMMARY JUDGMENT was filed electronically this 10th day of January

2020. Notice of this filing will be sent to all parties by operation of the Court’s electronic filing

system. Parties that have not filed their appearances will receive this notice via regular e-mail.

Parties may access this filing through the Court’s electronic system.

Counsel for Plaintiff                                 Counsel for J.C. Anderson, Inc.
Arthur R. Ehrlich                                     Eugene A. Boyle
Samm Sedaei                                           Michelle T. Olson
Law Offices of Goldman & Ehrlich, Chtd.               Vedder Price, P.C.
20 S. Clark Street, Suite 500                         222 N. LaSalle Street, Suite 2600
Chicago, IL 60603                                     Chicago IL 60601
(312)332-6733                                         (312)609-7500
Arthur@GoldmanEhrlich.com                             eboyle@vedderprice.com
Sam@GoldmanEhrlich.com                                molson@vedderprice.com


Counsel for Peter Erling Jacobsen
James C. Pullos
Shannon M. McNulty
Clifford Law Offices
120 N. LaSalle, 31st Floor
Chicago, IL 60602
(312)977-4511
jcp@cliffordlaw.com
smm@cliffordlaw.com


                                              s/ Edward B. Ruff
                                              Edward B. Ruff (IL Bar No. 6181332)
                                              Pretzel & Stouffer, Chartered
                                              One South Wacker Drive - Suite 2500
                                              Chicago, Illinois 60606
                                              Telephone:     (312) 578-7450
                                              Fax:           (312) 346-8242
                                              E-Mail: eruff@pretzel-stouffer.com
                                              Attorney for Peter Erling Jacobsen
